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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------   X
 HC2, INC.,                                        :
                                                   :   Civil Action No.: 1:20-cv-3178
             Plaintiff,                            :
                                                   :   [PROPOSED] CASE MANAGEMENT
                                                   :   PLAN
                      -v-                          :
                                                   :
                                                   :
 ANDREW DELANEY,                                   :
                                                   :
             Defendant.
                                                   :
 -----------------------------------------------   X


        This Civil Case Management Plan and Scheduling Order is submitted by the parties

in accordance with Federal Rule of Civil Procedure 26(f)(3) and contemplates an expedited

discovery schedule for the Court’s Preliminary Injunction Hearing:


1.      All parties do not consent to conducting all further proceedings before a United States

        Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c).


2.      The parties have conferred pursuant to Federal Rule of Civil Procedure 26(f).


3.      The parties have not engaged in settlement discussions to date.


4.      Any motion to amend or to join additional parties shall be filed no later than June 30,

        2020.


        Pursuant to Paragraph 2(J) of the Court’s Individual Practices in Civil Cases,

        parties may extend the deadlines set forth in Local Civil Rule 6.1 by an agreed-upon

        schedule, which shall govern as long as it is disclosed to the Court in a letter



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     accompanying the initial motion. At the Initial Pretrial Conference, parties should

     come prepared to discuss a proposed briefing schedule for any anticipated motion.


5.   Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure

     shall be completed no later than May 18, 2020.


6.   Other than as set forth herein with respect to the Court’s expedited discovery schedule

     for the Preliminary Injunction Hearing, plaintiff proposes that all fact discovery is to

     be completed no later than September 3, 2020.


7.   The parties are to conduct discovery in accordance with the Federal Rules of Civil

     Procedure and the Local Rules of the Southern District of New York. The following

     interim deadlines may be extended by the parties on consent without application to the

     Court, provided that the parties meet the deadline for completing fact discovery set forth

     in Paragraph 6 above.


     a.      Initial requests for production of documents for the Preliminary Injunction

             Hearing shall be served by May 8, 2020. Initial requests for production of

             documents for the remainder of the case shall be served within 30 days following

             the initial pretrial conference.


     b.      Interrogatories pursuant to Rule 33.3(a) of the Local Rules of the Southern

             District of New York for the Preliminary Injunction Hearing shall be served by

             May 8, 2020. Interrogatories pursuant to Rule 33.3(a) of the Local Rules of the

             Southern District of New York for the remainder of the case shall be served

             within 30 days following the initial pretrial conference. No Rule 33.3(a)


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              interrogatories need to be served with respect to disclosures automatically

              required by Federal Rule of Civil Procedure 26(a).


      c.      Unless otherwise ordered by the Court, contention interrogatories should be

              served consistent with Rule 33.3(c) of the Local Rules of the Southern District of

              New York.


      d.      Depositions are not necessary for the Preliminary Injunction Hearing.

              Depositions of fact witness for the remainder of the case shall be completed by

              August 14, 2020.


      e.      Requests to Admit for the Preliminary Injunction Hearing shall be served no later

              than May 8, 2020. All other Requests to admit shall be served within 30 days

              following the initial pretrial conference.


8.    All expert discovery, including disclosures, reports, production of underlying documents,

      and depositions shall be completed by October 16, 2020.


9.    All discovery shall be completed no later than October 30, 2020.


10.   The proposed joint pretrial order shall be submitted on ECF in accordance with the

      Court’s Individual Practices in Civil Cases and Federal Rule of Civil Procedure 26(a)(3)

      no later than thirty days after the summary judgment deadline.


11.   A post-discovery status conference shall be held on: November 6, 2020 at 9:00 a.m.


12.   Any motion for summary judgment must be filed no later than November 13, 2020.


13.   This case is not to be tried to a jury.

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14.      The parties have conferred and their present best estimate of the length of trial: Four

         Days.


15.      Counsel for the parties propose the following alternative dispute resolution mechanism

         for this case.


             a. _____ Referral to a Magistrate Judge for settlement discussions.


             b. _____ Referral to the Southern District’s Mediation Program.


             c. __X___ Retention of a private mediator.


The use of any alternative dispute resolution mechanism does not stay or modify any date in this

Order.


16.      Other issues to be addressed at the Initial Pretrial Conference, including those set forth in

         Federal Rule of Civil Procedure 26(f)(3), are set forth below.


             a. Plaintiff proposes and submits a proposed protective order concurrently with this

                 proposed case management plan and discovery order.             Plaintiff’s proposed

                 protective order does not deviate from the Court’s Model Protective Order.

                 Defendant does not currently agree with implementation of a protective order

                 beyond the PI hearing.


             b. Plaintiff is submitting a proposed order with respect to expedited discovery

                 deadlines proposed herein and a briefing schedule in advance of the hearing on

                 plaintiff’s PI Motion. Defendant had agreed to these dates prior to informing

                 plaintiff that he preferred to file a separate case management plan. The parties


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             assume that the Preliminary Injunction Hearing will be scheduled for a date on or

             before May 27, 2020, the date of the expiration of this Court’s temporary restraining

             order dated April 29, 2020.


          c. The parties have agreed to meet and confer on a Stipulation Regarding Certain Non-

             Disputed Facts prior to the Preliminary Injunction Hearing.




Dated: New York, New York
       May 4, 2020

                                                   KASOWITZ BENSON TORRES LLP



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                                                   Attorneys for Plaintiff




Dated: May _____, 2020
New York, New York

                                                     ________________________________
                                                             LEWIS J. LIMAN
                                                           United States District Judge

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